Case: 0:15-cv-00046-DLB-EBA         Doc #: 29-1 Filed: 07/10/17      Page: 1 of 37 - Page
                                        ID#: 141



                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF KENTUCKY
                             ASHLAND DIVISION

DAVID ERMOLD, et al.,                        :   CIVIL ACTION
                                             :
              Plaintiffs,                    :   0:15-CV-00046-DLB
                                             :
      v.                                     :   DISTRICT JUDGE
                                             :   DAVID L. BUNNING
KIM DAVIS,                                   :
                                             :
              Defendant.                     :


                    DEFENDANT’S MEMORANDUM OF LAW
           IN SUPPORT OF MOTION TO DISMISS AMENDED COMPLAINT

                                     Horatio G. Mihet
                                    Roger K. Gannam
                                    LIBERTY COUNSEL
                                     P.O. Box 540774
                                  Orlando, Florida 32854
                                   Tel: (407) 875-1776
                                   Fax: (407) 875-0770
                                     hmihet@LC.org
                                    rgannam@LC.org

                                     A.C. Donahue
                             DONAHUE LAW GROUP, P.S.C.
                                      P.O. Box 659
                                Somerset, Kentucky 42502
                                   Tel: (606) 677-2741
                                  Fax: (606) 678-2977
                            ACDonahue@DonahueLawGroup.com

                             Attorneys for Defendant, Kim Davis
Case: 0:15-cv-00046-DLB-EBA                             Doc #: 29-1 Filed: 07/10/17                            Page: 2 of 37 - Page
                                                            ID#: 142



                                                   TABLE OF CONTENTS

TABLE OF CONTENTS ................................................................................................................. i

TABLE OF AUTHORITIES .......................................................................................................... ii

REQUEST FOR ORAL ARGUMENT ...........................................................................................1

INTRODUCTION ...........................................................................................................................1

RELEVANT BACKGROUND .......................................................................................................2

          A.         Obergefell and the Kentucky Marriage Licensing Scheme. ....................................3

          B.         Davis’ Sincerely-Held Religious Beliefs about Marriage. ......................................3

          C.         The Miller v. Davis Litigation. ................................................................................4

          D.         The Executive Order. ...............................................................................................5

          E.         SB 216. .....................................................................................................................6

          F.         Plaintiffs’ Lawsuit. ...................................................................................................7

STANDARD OF REVIEW .............................................................................................................8

ARGUMENT ...................................................................................................................................8

I.        THE AMENDED COMPLAINT SHOULD BE DISMISSED BECAUSE DAVIS IS
          IMMUNE FROM PLAINTIFFS’ DAMAGES CLAIMS. ..................................................8

          A.         Immunity Claims Must Be Resolved at the Earliest Stage of Litigation. ................9

          B.         In Her Official Capacity, Davis Is a State Agent with Sovereign Immunity
                     under the Eleventh Amendment.............................................................................10

          C.         In Her Individual Capacity, Davis Has Qualified Immunity from Plaintiffs’
                     Damages Claims Because Davis Did Not Violate Any Clearly Established
                     Law. .......................................................................................................................14

II.       THE AMENDED COMPLAINT SHOULD BE DISMISSED BECAUSE
          PLAINTIFFS  HAVE   FAILED            TO          STATE              VIABLE               FEDERAL
          CONSTITUTIONAL CLAIMS. ........................................................................................22

CONCLUSION. .............................................................................................................................26




                                                                        i
Case: 0:15-cv-00046-DLB-EBA                         Doc #: 29-1 Filed: 07/10/17                        Page: 3 of 37 - Page
                                                        ID#: 143



                                              TABLE OF AUTHORITIES

Cases

Aldini v. Johnson, 609 F.3d 858 (6th Cir. 2010)............................................................................22

Anderson v. Creighton, 483 U.S. 635 (1987) ...................................................................9,14,15,17

Ashcroft v. Iqbal, 556 U.S. 662 (2009) ............................................................................................8

Ashland Hosp. Corp. v. Int’l Bro. of Elec. Workers Local 575,
   807 F. Supp. 2d 633 (E.D. Ky. 2011) ........................................................................................8

Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007) ............................................................................8

Bloch v. Ribar, 156 F.3d 673 (6th Cir. 1998) ..................................................................................8

Brehm v. Wesseler, No. 09-60, 2011 WL 1704347
   (E.D. Ky. May 4, 2011) ...........................................................................................................22

Brosseau v. Haugen, 543 U.S. 194 (2004) ....................................................................................16

Butz v. Economou, 438 U.S. 478 (1978) ........................................................................................21

Cady v. Arenac County, 574 F.3d 334 (6th Cir. 2009) ..................................................................10

Campbell v. City of Springboro, 700 F.3d 779 (6th Cir. 2012) .....................................................14

Carroll v. Reed, 425 S.W.3d 921 (Ky. Ct. App. 2014)..................................................................13

Cope v. Heltsley, 128 F.3d 452 (6th Cir. 1997) .............................................................................16

Crocket v. Cumberland Coll., 316 F.3d 571 (6th Cir. 2003) .........................................................14

D’Ambrosio v. Marino, 747 F.3d 378 (6th Cir. 2014) ...................................................................10

Daugherty v. Campbell, 935 F.2d 780 (6th Cir. 1991) ..................................................................16

Estate of Carter v. Detroit, 408 F.3d 305 (6th Cir. 2005) .............................................................14

Eubank v. Wesseler, No. 10-210, 2011 WL 3652558 (E.D. Ky. Aug. 19, 2011) ............................8

Gibbs v. Lomas, 755 F.3d 529 (7th Cir. 2014) .........................................................................15,20

Gottfried v. Med. Planning Servs., Inc., 280 F.3d 684 (6th Cir. 2002) ...............................10,11,13

Graves v. Mahoning County, No. 4:10CV2821, 2015 WL 403156
   (N.D. Ohio Jan. 28, 2015) ........................................................................................................11




                                                                  ii
Case: 0:15-cv-00046-DLB-EBA                          Doc #: 29-1 Filed: 07/10/17                        Page: 4 of 37 - Page
                                                         ID#: 144



Graves v. Mahoning County, 821 F.3d 772 (6th Cir. 2016) ..........................................................11

Harlow v. Fitzgerald, 457 U.S. 800 (1982) ........................................................................1,9,14,21

Holzemer v. City of Memphis, 621 F.3d 512 (6th Cir. 2010).........................................................14

Kennedy v. City of Villa Hills, 635 F.3d 210 (6th Cir. 2011) ........................................................15

Leslie v. Lacy, 91 F. Supp. 2d 1182 (S.D. Ohio 2000) ..................................................................11

Loving v. Virginia, 388 U.S. 1 (1968)............................................................................................23

Malley v. Briggs, 475 U.S. 335 (1986) ..........................................................................................14

Miller v. Davis, 123 F. Supp. 3d 924 (E.D. Ky. 2015) ..................................................3,4,11,18,19

Miller v. Davis, 667 F. App’x 537 (6th Cir. 2016) .......................................................................3,6

Mitchell v. Forsyth, 472 U.S. 511 (1985) ..............................................................................9,10,14

Montgomery v. Carr, 101 F.3d 1117 (6th Cir. 1996) ....................................................................23

O’Malley v. City of Flint, 652 F.3d 662 (6th Cir. 2011) ................................................................16

Obergefell v. Hodges, 135 S. Ct. 2584 (2015) ....................................................................... passim

Pearson v. Callahan, 555 U.S. 223 (2009) ................................................................14,15,18,19,20

Pinkhasov v. Petocz, 331 S.W.3d 285 (Ky. App. 2011) ................................................................11

Puerto Rico Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc.,
   506 U.S. 139 (1993) ..............................................................................................................9,10

Pusey v. City of Youngstown, 11 F.3d 652 (6th Cir. 1993) .......................................................10,11

Radvansky v. City of Olmsted Falls, 395 F.3d 291 (6th Cir. 2005) ...............................................22

Rondigo, LLC v. Twp. of Richmond, 641 F.3d 673 (6th Cir. 2011) .................................................9

Saucier v. Katz, 533 U.S. 194 (2001) .......................................................................................14,18

Sims v. Bracken County Sch. Dist., No. 10-33, 2010 WL 4103167 (E.D. Ky. Oct. 18, 2010) ........8

Tenney v. Brandhove, 341 U.S. 367 (1951) ...................................................................................21

Thiokol Corp. v. Dep’t of Treasury, State of Mich. Revenue Div.,
   987 F.2d 376 (6th Cir. 1993) ...................................................................................................10

Turner v. Safley, 482 U.S. 78 (1987) .............................................................................................24



                                                                   iii
Case: 0:15-cv-00046-DLB-EBA                             Doc #: 29-1 Filed: 07/10/17                           Page: 5 of 37 - Page
                                                            ID#: 145



United States v. Windsor, 133 S. Ct. 2675 (2013) .........................................................................25

Vaughn v. Lawrenceburg Power Sys., 269 F.3d 703 (6th Cir. 2001) ............................................23

Walton v. City of Southfield, 995 F.2d 1331 (6th Cir. 1993) .........................................................16

Zablocki v. Redhail, 434 U.S. 374 (1978).................................................................................23,24

Statutes and Rules

42 U.S.C. § 1983 ...............................................................................................................2,13,22,26

Fed. R. Civ. P. 12 .............................................................................................................................8

2016 Kentucky Laws Ch. 132 (SB 216),
   General Assembly Reg. Sess. (Ky. 2016) ................................................................. 5,6,7,19,20

Kentucky Religious Freedom Restoration Act,
   Ky. Rev. Stat. § 446.350 (2013) ...................................................................................... passim

Ky. Rev. Stat. § 402.005 ..................................................................................................................3

Ky. Rev. Stat. § 402.080 ......................................................................................................11,22,25

Ky. Rev. Stat. § 402.100 .....................................................................................................3,6,11,25

Ky. Rev. Stat. § 402.110 ..................................................................................................................6

Ky. Rev. Stat. § 446.010 ................................................................................................................12

Ky. Rev. Stat. § 446.030 ................................................................................................................12

Ky. Rev. Stat. § 446.090 ................................................................................................................12

Ky. Rev. Stat. § 446.140 ................................................................................................................12

Ky. Rev. Stat. § 64.5275 ................................................................................................................11

Ky. Rev. Stat. Ch. 402 ................................................................................................................5,11

Ky. Rev. Stat. Ch. 446 ...................................................................................................................12

Md. Code Ann., Fam. Law § 2-401 ...............................................................................................24

Mich. Comp. Laws § 551.101 ........................................................................................................25

Mich. Comp. Laws § 551.103a ......................................................................................................25

Minn. Stat. § 517.07.......................................................................................................................25


                                                                       iv
Case: 0:15-cv-00046-DLB-EBA                             Doc #: 29-1 Filed: 07/10/17                          Page: 6 of 37 - Page
                                                            ID#: 146



Minn. Stat. § 517.08.......................................................................................................................25

Ohio Rev. Code Ann. § 3101.05 ....................................................................................................25

Tenn. Code Ann. § 36-3-103 .........................................................................................................25

Other Authorities

Executive Order 2015-048 Relating to the Commonwealth’s
   Marriage License Form ..............................................................................................5,6,7,12,19

Constitutional Provisions

Ky. Const. § 233A ...........................................................................................................................3

Ky. Const. § 246 ............................................................................................................................11

U.S. Const. amend. I .................................................................................................................17,19

U.S. Const. amend. XI .....................................................................................................2,8,9,10,13




                                                                      v
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17          Page: 7 of 37 - Page
                                           ID#: 147



                            REQUEST FOR ORAL ARGUMENT

       Kim Davis hereby requests oral argument on her Motion to Dismiss. Oral argument should

be granted because there are various bases for dismissal which involve complex federal questions

such as subject matter jurisdiction, sovereign immunity, and qualified immunity. Moreover, the

competing constitutional claims and defenses involved in this appeal significantly impact the

societal costs of suits against public officials recognized by the Supreme Court in Harlow v.

Fitzgerald: “The societal costs include the expenses of litigation, the diversion of official energy

from pressing pubic issues, and the deterrence of able citizens from acceptance of public office.”

457 U.S. 800, 814 (1982).

                                       INTRODUCTION

       This case is not about whom a person may marry under Kentucky law, whether Kentucky

must license the marriage of a same-sex couple, or even whether Plaintiffs could obtain a Kentucky

marriage license when they wanted one. Nor is this case about a county clerk who wanted to re-

litigate the Supreme Court’s decision in Obergefell v. Hodges, or to prevent Plaintiffs or any other

same-sex couple from receiving a marriage license in Kentucky.

       Rather, this case has always been about Plaintiffs’ attempt to force an “all or nothing”

choice between same-sex “marriage” on the one hand, and religious liberty on the other, with no

regard whatsoever for any reasonable accommodation. Now that Kentucky has moved on, after its

highest officials changed the law to vindicate Davis’ religious liberty rights and provide her

requested accommodation, even while ensuring no Kentuckian was denied a valid marriage

license, Plaintiffs want to punish Davis for resisting an act that would have violated her deeply

held religious convictions and conscience.




                                                 1
Case: 0:15-cv-00046-DLB-EBA             Doc #: 29-1 Filed: 07/10/17           Page: 8 of 37 - Page
                                            ID#: 148



       Pursuant to the marriage license directive of former Kentucky Governor Steven Beshear

following the Supreme Court’s Obergefell v. Hodges decision, Plaintiffs’ claim that Davis violated

their right to marry when she raised a conscientious objection, according to her deeply held

religious beliefs, to issuing marriage licenses to same-sex couples under her name and authority.

In the context of this case, however, and under well-established precedent, Davis is immune from

Plaintiffs’ damages claims—by Eleventh Amendment sovereign immunity in her official capacity

as a state official, and by qualified immunity in her individual capacity.

       Moreover, Plaintiffs’ claims present no cognizable federal constitutional question.

Specifically, Plaintiffs have failed to identify any federal constitutional right to receive a marriage

license from a particular state official (Davis) at a particular place (Rowan County), when no policy

ever prevented either Appellant from marrying whom he wanted to marry, or obtaining a valid

Kentucky marriage license.

       For all the foregoing reasons, as explained more fully below, Plaintiffs’ damages claims

should be dismissed.

                                  RELEVANT BACKGROUND

       Plaintiffs purport to assert a § 1983 damages action against Davis in her individual and

official capacities, for allegedly violating Plaintiffs’ constitutional right to marry. (Am. Compl.,

Doc. 27, at 4-7.) Plaintiffs were not, however, the first to sue Davis in the wake of Obergefell.

Moreover, the legal landscape affecting marriage licenses in Kentucky has changed drastically

since Plaintiffs’ suit was filed. These pre- and post-filing contexts of Plaintiffs’ lawsuit are

presented below.




                                                  2
Case: 0:15-cv-00046-DLB-EBA           Doc #: 29-1 Filed: 07/10/17          Page: 9 of 37 - Page
                                          ID#: 149



       A.      Obergefell and the Kentucky Marriage Licensing Scheme.

       Importantly, prior to Obergefell, Kentucky constitutionally and statutorily defined

marriage as the union between one man and one woman. Ky. Const. § 233A (2004); Ky. Rev. Stat.

§ 402.005 (1998). The pre-Obergefell statutory marriage license form included a license to marry

under the name and authority of the county clerk. Ky. Rev. Stat. § 402.100 (2006); Miller v. Davis,

123 F. Supp. 3d 924, 931-32 (E.D. Ky. 2015), vacated, 667 F. App’x 537 (6th Cir. 2016).

       On June 26, 2015, moments after the Supreme Court announced its decision in Obergefell,

former Kentucky Governor Steven Beshear (“Gov. Beshear”) issued a directive to all Kentucky

county clerks (hereinafter, the “SSM Mandate”) to “recognize as valid all same sex marriages

performed in other states and in Kentucky.” (SSM Mandate, Doc. 27-1 (see also Miller, 123 F.

Supp. 3d at 932).) In this SSM Mandate, Gov. Beshear further commanded, “Kentucky . . . must

license and recognize the marriages of same-sex couples,” and ordered the creation and

distribution of new marriage license forms to accommodate same-sex couples. (Id.) However, the

new form retained the requirement to issue the license under the name and authority of the county

clerk. (See Miller, 123 F. Supp. 3d at 931-32, 931 n.3.)

       B.      Davis’ Sincerely-Held Religious Beliefs about Marriage.

       Davis possesses a deeply-held Christian belief that marriage is a union between one man

and one woman, only. (Am. Compl., Doc. 27, at 3, ¶¶ 21, 23 (see also Miller, 123 F. Supp. 3d at

932).) Davis cannot authorize the marriage of same-sex couples because it violates her core

religious beliefs: In her sincere belief, the endorsement of her name and authorization equates to

approval and agreement. (See Miller, 123 F. Supp. 3d at 932.) Following the SSM Mandate, due

to her religious beliefs, Davis discontinued authorizing marriage licenses. (Am. Compl., Doc. 27,

at 3, ¶¶ 21, 23 (see also Miller, 123 F. Supp. 3d at 929-930).) Rather than withdraw her




                                                 3
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17            Page: 10 of 37 - Page
                                            ID#: 150



authorization for only same-sex marriages, Davis withdrew her authorization to issue any marriage

license in her name to any couple. (See Miller, 123 F. Supp. 3d at 929-930.)

       C.      The Miller v. Davis Litigation.

       Plaintiffs were not the first to file suit against Davis following Obergefell. On July 2, 2015,

less than one week after Gov. Beshear issued his SSM Mandate, the plaintiffs in Miller v. Davis

(two same-sex and two different-sex couples) filed suit alleging federal constitutional claims and

demanding issuance of marriage licenses to them in Rowan County, under Kim Davis’ name and

authority. (Miller v. Davis, No. 0:15-cv-44-DLB (E.D. Ky.), Compl., Doc. 1, at 1-15.1) The Miller

Plaintiffs filed the action on behalf of themselves and “a putative class of individuals who are

qualified to marry and who intend to seek a marriage license from the Rowan County Clerk.” (Id.)

       On August 12, 2015, this Court preliminarily enjoined Davis, in her official capacity, “from

applying her ‘no marriage licenses’ policy to future marriage license requests submitted by

Plaintiffs.” (Miller, 123 F. Supp. 3d at 930, 944.) On September 3, 2015, the Court expanded the

preliminary injunction to apply to “other individuals who are legally eligible to marry in

Kentucky.” (Miller, Order, Sep. 3, 2015, Doc. 74.) Davis appealed the August 12 and September



1
   Although this Court did not formally consolidate Miller with this case, the Court treated the
cases, along with a third case, Yates v. Davis, as consolidated for some purposes, including
dismissal. (See Order, Doc. 19 (dismissing together Miller, Yates, and the instant case under the
caption In re: Ashland Civil Actions, referring to Miller as “the lead case”); see also Order, Doc.
13 (staying briefing in instant case pending outcome of appeal in “related case” Miller)).
Furthermore, this Court expressly contemplated Plaintiffs’ claims herein when it expanded the
Miller preliminary injunction to benefit not only the Miller Plaintiffs, but all persons who may
seek a marriage license in Rowan County. (Miller, Hr’g Tr. Sep. 3, 2015, Doc. 78, at 9:4-19:17
(“There are a couple of companion cases, [Ermold, 15-]46 and [Yates, 15-]49? 51? I can't
remember the numbers, but there are three cases now pending with various plaintiffs.”) (“[I]n
granting that relief that's requested at Docket 68, the Court finds that given the fact that it does
have two companion cases that involve, in essence, the very same allegations with the same
lawyers, it just makes judicial sense to have the Circuit review the decision for all three of them.”))
Accordingly, it is appropriate to consider some portions of the Miller proceedings as part of the
record in the instant case.


                                                  4
Case: 0:15-cv-00046-DLB-EBA             Doc #: 29-1 Filed: 07/10/17          Page: 11 of 37 - Page
                                             ID#: 151



3, 2015 preliminary injunction orders to the Sixth Circuit. (Miller v. Davis, 6th Cir. Case No. 15-

5880.)

         At the September 3, 2015 district court hearing in Miller, where the Court expanded the

Miller preliminary injunction to apply to Plaintiffs, the Court expressed hope for a legislative or

executive accommodation of the kind ultimately granted by Gov. Bevin in his Executive Order

2015-048, and made permanent by the enactment of Kentucky Senate Bill 216 (see infra Relevant

Background Parts D, E): “I recognize, and I mentioned this when we first came out earlier this

morning, that the legislative and executive branches do have the ability to make changes. And

those changes may be beneficial to everyone. Hopefully, changes are made.” (Miller, Hr’g Tr.

Sept. 3, 2015, Doc. 78, at 96:5-9.) “If legislative or executive remedies . . . come to fruition, as I

stated, better for everyone.” (Id. at 97:3-5.)

         At the same hearing, this Court granted the motion of Kentucky Senate President Robert

Stivers for leave to file an amicus brief in support of Davis (Miller, Hr’g Tr. Sept. 3, 2015, Doc.

78, at 19:20-20:23), in which he advised the court that “the concept of marriage as between a man

and a woman is so interwoven into KRS Chapter 402 that the defendant County Clerk cannot

reasonably determine her duties until such time as the General Assembly has clarified the impact

of Obergefell by revising KRS Chapter 402 through legislation,” or “[a]lternatively the clerk’s

duties could be clarified by Executive Order of the Governor . . . .” (Miller, Mot. Ky. Senate Pres.

Stivers Leave to File Br. as Amicus Curiae, Doc. 73, at 1-2.)

         D.     The Executive Order.

         On December 22, 2015, newly elected Kentucky Governor Matt Bevin (“Gov. Bevin”)

issued Executive Order 2015-048 Relating to the Commonwealth’s Marriage License Form (the

“Executive Order,” copy attached hereto as Exhibit A), which explicitly acknowledged the

protections afforded county clerks under Kentucky’s Religious Freedom Restoration Act


                                                  5
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17            Page: 12 of 37 - Page
                                            ID#: 152



(“Kentucky RFRA”), Ky. Rev. Stat. § 446.350 (2013). Specifically, the Executive Order

established that (1) the SSM Mandate placed a substantial burden on the free exercise of religion

by some county clerks and their employees, (2) the Kentucky RFRA requires that the

Commonwealth use the least restrictive means available to carry out Kentucky marriage license

policy in light of that substantial burden, (3) there is no compelling governmental interest to justify

requiring the name and authority of county clerks on marriage licenses, (4) a reasonable

accommodation for county clerks could easily and must be made, and (5) the Commonwealth is

legally obligated to comply with Kentucky RFRA through the creation and provision of a revised

marriage license form removing the requirement of a county clerk’s name and authority. (Exec.

Order, Ex. A.)

       E.        SB 216.

       On July 14, 2016, Kentucky Senate Bill 216 (“SB 216”) took effect, permanently

modifying Kentucky law regarding the issuance and authorization of marriage licenses beyond the

Executive Order. Specifically, SB 216 expressly modified the Kentucky marriage licensing

scheme to remove entirely a County Clerk’s name, personal identifiers, and authorization from

any license, thereby providing through a permanent change in the law the very religious

accommodation Davis sought from the beginning of this litigation. The Kentucky Legislature

unanimously passed SB 216 and Gov. Bevin signed it into law on April 13, 2016, thereby

amending Ky. Rev. Stat. §§ 402.100 and 402.110. See 2016 Kentucky Laws Ch. 132 (SB 216),

General Assembly Reg. Sess. (Ky. 2016).

       SB 216 rendered moot Davis’ appeals from this Court’s preliminary injunction orders in

Miller. Accordingly, the Sixth Circuit dismissed the Miller appeals and remanded the case to this

Court, instructing it to vacate the August 12 and September 3, 2015 preliminary injunction orders.

(Order, Doc. 19 (quoting Miller v. Davis, 667 F. App’x 537 (6th Cir. 2016).)


                                                  6
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17            Page: 13 of 37 - Page
                                            ID#: 153



       F.      Plaintiffs’ Lawsuit.

       Plaintiffs filed suit against Davis on July 10, 2015, after Miller v. Davis was filed, but

before the Executive Order and enactment of SB 216. (Compl., Doc. 1; see supra Parts C, D, E.)

Following the Sixth Circuit’s vacatur of the Miller preliminary injunction orders, this Court

consolidated the instant case with Miller and Yates, under the caption In re: Ashland Civil Actions,

for the purpose of dismissing all three actions as moot. (Order, Doc. 19.)

       Plaintiffs appealed the dismissal of their case. (Doc. 20.) The Sixth Circuit reversed the

Dismissal Order, and remanded the case for reinstatement of Plaintiffs’ claims. (Docs. 21-23.) The

Court granted Plaintiffs leave to amend their complaint (Doc. 26 at 1), and Plaintiffs filed their

First Amended Complaint on June 8, 2017 (Doc. 27).

       According to the Amended Complaint, Plaintiffs are two males residing in Rowan County,

Kentucky, who desired but were denied a Kentucky marriage license. (Doc. 27 at 1-3, 5, ¶¶ 3, 4,

7, 19, 22, 24, 25.) Based on Obergefell and Gov. Beshear’s SSM Mandate, Plaintiffs claim their

constitutional right to marry includes the right to be issued a marriage license by Davis, in Rowan

County.2 (Id. at 1-3, 6, ¶¶ 3-4, 7-8, 15, 17, 19, 22, 24, 25, 43.) Davis’ observance of her “deeply

held Christian beliefs” about marriage, Plaintiffs claim, violated their constitutional right to marry.

(Id. at 3, 6, ¶¶ 21, 43.) Plaintiffs seek actual and punitive damages, pre- and post-judgment interest,

and attorneys’ fees and costs against Davis. (Id. at 7.)




2
        Plaintiffs received a Kentucky marriage license while Davis was incarcerated for contempt
of this Court’s preliminary injunction orders in Miller. (Am. Compl., Doc. 27, at 3-4, ¶¶ 26-27;
Doc. 27-4 at 1-2). Plaintiffs’ allegation that the marriage license they received was “issued . . . by
Davis” (id. at 4, ¶ 31), however, is contradicted by the article Plaintiffs attached to their Amended
Complaint as Exhibit 4 (Doc. 27-4 at 1-2 (“[T]he licenses issued while Davis was in jail do not
have the clerk’s authority . . . .”).


                                                  7
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17            Page: 14 of 37 - Page
                                            ID#: 154



                                    STANDARD OF REVIEW

       Under a Rule 12(b)(6) motion to dismiss, “the Court’s job is to test the sufficiency of the

complaint.” Ashland Hosp. Corp. v. Int’l Bro. of Elec. Workers Local 575, 807 F. Supp. 2d 633,

638 (E.D. Ky. 2011) (Bunning, J.). Although a Court reviewing a Rule 12(b)(6) motion “must

construe the complaint in a light most favorable to the plaintiff, and accept all of [the] factual

allegations as true,” Bloch v. Ribar, 156 F.3d 673, 677 (6th Cir. 1998) (citations omitted), this

Court “is not bound to accept as true unwarranted factual inferences, or legal conclusions

unsupported by well-pleaded facts.” Ashland Hosp., 807 F. Supp. 2d at 638 (internal citations

omitted).

       To survive a motion to dismiss, Plaintiffs’ complaint “does not need detailed factual

allegations,” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007), but it must present “enough

facts to state a claim to relief that is plausible on its face.” Id. at 570. Plaintiffs’ complaint must

therefore provide “more than labels and conclusions [or] a formulaic recitation of the elements of

a cause of action.” Id. at 555. The “[f]actual allegations must be enough to raise a right to relief

above the speculative level.” Id. This standard “demands more than an unadorned, the-defendant-

unlawfully-harmed-me accusation.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); see also Eubank

v. Wesseler, No. 10-210, 2011 WL 3652558, at *3 (E.D. Ky. Aug. 19, 2011); Sims v. Bracken

County Sch. Dist., No. 10-33, 2010 WL 4103167, at *4 (E.D. Ky. Oct. 18, 2010) (Bunning, J.).

                                           ARGUMENT

I.     THE AMENDED COMPLAINT SHOULD BE DISMISSED BECAUSE DAVIS IS
       IMMUNE FROM PLAINTIFFS’ DAMAGES CLAIMS.

       Davis is immune from Plaintiffs’ damages claims—by sovereign immunity under the

Eleventh Amendment in her official capacity, and by qualified immunity in her individual

capacity. Because these immunities are immunities from suit, rather than mere defenses to liability,



                                                  8
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17           Page: 15 of 37 - Page
                                            ID#: 155



they must be addressed at the earliest possible stage of litigation, and before discovery where they

may be established as a matter of law. Because Davis’ immunities claims are established as a

matter of law, no further findings or proceedings are necessary or appropriate before resolving

them.

        A.      Immunity Claims Must Be Resolved at the Earliest Possible Stage of
                Litigation.

        “Unless the plaintiff's allegations state a claim of violation of clearly established law, a

defendant pleading qualified immunity is entitled to dismissal before the commencement of

discovery.” Mitchell v. Forsyth, 472 U.S. 511, 526 (1985) (citing Harlow v. Fitzgerald, 457 U.S.

800, 818 (1982)). “Harlow thus recognized an entitlement not to stand trial or face the other

burdens of litigation, conditioned on the resolution of the essentially legal question whether the

conduct of which the plaintiff complains violated clearly established law. The entitlement is an

immunity from suit rather than a mere defense to liability . . . .” Mitchell, 472 U.S. at 526. “One of

the purposes of the Harlow qualified immunity standard is to protect public officials from the

broad-ranging discovery that can be peculiarly disruptive of effective government. For this reason,

we have emphasized that qualified immunity questions should be resolved at the earliest

possible stage of a litigation.” Anderson v. Creighton, 483 U.S. 635, 646 n.6 (1987) (emphasis

added) (internal quotation marks and citation omitted); see also Rondigo, LLC v. Twp. of

Richmond, 641 F.3d 673, 681 (6th Cir. 2011) (“The purpose of the doctrine is to ensure that

insubstantial claims against government officials are resolved at the earliest possible stage in

litigation.”)

        The same immunity from suit principles apply to claims of sovereign immunity under the

Eleventh Amendment. See Puerto Rico Aqueduct & Sewer Auth. v. Metcalf & Eddy, Inc., 506 U.S.

139, 144 (1993). “Under the terms of the Amendment, ‘[t]he Judicial power of the United States



                                                  9
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17           Page: 16 of 37 - Page
                                            ID#: 156



shall not be construed to extend to any suit in law or equity, commenced or prosecuted against one

of the United States by Citizens of another State . . . .’ This withdrawal of jurisdiction effectively

confers an immunity from suit.” Id. “Eleventh Amendment immunity, like the benefit conferred

by qualified immunity to individual officials, is for the most part lost as litigation proceeds past

motion practice.” Id. at 145. Thus, like claims of qualified immunity, claims of sovereign immunity

must be resolved at the earliest possible stage of litigation.3

       B.      In Her Official Capacity, Davis Is a State Agent with Sovereign
               Immunity under the Eleventh Amendment.

       Unlike in Miller, where the Plaintiffs sought prospective injunctive relief, Plaintiffs in this

case seek only damages. Thus, the question of Eleventh Amendment immunity for state officials

is front and center, and separate from any question decided by Obergefell. The Eleventh

Amendment “bars suits for monetary relief against state officials sued in their official capacity.”

Thiokol Corp. v. Dep’t of Treasury, State of Mich. Revenue Div., 987 F.2d 376, 381 (6th Cir. 1993);

see also Gottfried v. Med. Planning Servs., Inc., 280 F.3d 684, 692 (6th Cir. 2002) (“[I]t is well

established that states and state officers acting in their official capacities are immune from suits

for damages in federal court . . . .”). Where a county officer’s duties “clearly flow from the State,”

the officer is a state official for purposes of Eleventh Amendment immunity. Gottfried, 280 F.3d

at 693 (holding county sheriff state official when enforcing state court injunction); cf. D’Ambrosio

v. Marino, 747 F.3d 378, 387 (6th Cir. 2014) (holding county prosecutor state official when

prosecuting state crimes); Cady v. Arenac County, 574 F.3d 334, 342 (6th Cir. 2009) (same); Pusey

v. City of Youngstown, 11 F.3d 652, 657 (6th Cir. 1993) (“[A] city official pursues her duties as a




3
       The immunity from suit principles also dictate that denials of claims of qualified and
sovereign immunity are immediately appealable. See, e.g., Mitchell, 472 U.S. at 526–27 (qualified
immunity); Puerto Rico Aqueduct, 506 U.S. at 147 (sovereign immunity).


                                                  10
Case: 0:15-cv-00046-DLB-EBA           Doc #: 29-1 Filed: 07/10/17           Page: 17 of 37 - Page
                                           ID#: 157



state agent when enforcing state law or policy.”); Graves v. Mahoning County, No. 4:10CV2821,

2015 WL 403156, *6 (N.D. Ohio Jan. 28, 2015) (holding township clerks acted as state officials

when issuing arrest warrants pursuant to state statute), aff'd, 821 F.3d 772 (6th Cir. 2016); Leslie

v. Lacy, 91 F. Supp. 2d 1182, 1194 (S.D. Ohio 2000) (holding county clerk acted as agent of state,

not county, where relevant job duties specified by state law and subject to control of state).

       Kentucky law leaves no doubt that, in issuing and declining to issue marriage licenses,

Davis is a state official. County clerks, such as Davis, are statutorily conferred duties and

jurisdiction “coextensive with that of the Commonwealth.” See Ky. Rev. Stat. § 64.5275(1); see

also Ky. Const. § 246. In Kentucky, the Commonwealth has “absolute jurisdiction over the

regulation of the institution of marriage.” Pinkhasov v. Petocz, 331 S.W.3d 285, 291 (Ky. App.

2011) (emphasis added). All matters relating to marriage in Kentucky, including its definition and

the procedures for licensing, solemnizing, and dissolving marriages are governed by Chapter 402

of the Kentucky Revised Statutes. In particular, the duty of county clerks to issue marriage licenses

is governed by section 402.080, and the license form that county clerks must use for marriage

licenses by section 420.100. Gov. Beshear’s SSM Mandate was a directive from the state to all

county clerks in the state. In light of this absolute state control over marriage in Kentucky, this

Court concluded, in the related Miller case,

               The State not only enacts marriage laws, it prescribes procedures for
               county clerks to follow when carrying out those laws, right down to
               the form they must use in issuing marriage licenses. Thus, Davis
               likely acts for the State of Kentucky, and not as a final
               policymaker for Rowan County, when issuing marriage licenses.

123 F. Supp. 3d at 933 (citations omitted) (emphasis added).

       Davis’ marriage licensing duties and obligations “clearly flow from the state.” See

Gottfried, 280 F.3d at 693. And Davis’ decision not to issue marriage licenses was no less the act

of a state official because that decision was likewise sanctioned by Kentucky state law. As


                                                 11
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17            Page: 18 of 37 - Page
                                            ID#: 158



ultimately acknowledged by Governor Bevin’s Executive Order, Davis’ right to relief from

carrying out Gov. Beshear’s SSM Mandate against her conscience is protected by and entrenched

in Kentucky RFRA which provides, in pertinent part:

               Government shall not substantially burden a person’s[4] freedom of
               religion. The right to act or refuse to act in a manner motivated by
               a sincerely held religious belief may not be substantially burdened
               unless the government proves by clear and convincing evidence that
               it has a compelling governmental interest in infringing the specific
               act or refusal to act and has used the least restrictive means to further
               that interest.

Ky. Rev. Stat. § 446.350 (emphasis added).

       Kentucky RFRA applies to all Kentucky statutes. Kentucky RFRA is housed under Chapter

446, which is entitled “Construction of Statutes,” and includes such other generally applicable

provisions as “Definitions for Statutes Generally,” “Computation of Time,” “Severability,” and

“Titles, Headings, and Notes.” Ky. Rev. Stat. §§ 446.010, 446.030, 446.090, 446.140. Even more

specifically, Kentucky RFRA is included under a section of Chapter 446 reserved for “Rules of

Codification.” As such, Kentucky’s marriage statutes—much like any other body of Kentucky

law—cannot be interpreted without also considering and applying Kentucky RFRA.

       Thus, the right to refuse to act against religious conscience is expressly conferred by

Kentucky RFRA, which applies to Kentucky marriage licensing statutes. Moreover, the specific

application of this right to county clerks in the issuance of marriage licenses was expressly

established by the Executive Order. Put differently, Kentucky (i.e., Davis in her official capacity)

has a duty under Kentucky RFRA not to substantially burden “the right of any person” (i.e., Davis


4
        While “person” is not defined in the Kentucky RFRA, it is defined in Kentucky’s general
definitions statute to include “bodies-politic and corporate, societies, communities, the public
generally, individuals, partnerships, joint stock companies, and limited liability companies.” See
KY. REV. STAT. § 446.010(33) (emphasis added). There is no exception from the definition for
individuals who are publicly elected officials.


                                                  12
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17            Page: 19 of 37 - Page
                                            ID#: 159



in her individual capacity) “to act or refuse to act in a manner motivated by a sincerely held

religious belief . . . .” Ky. Rev. Stat. § 446.350 (emphasis added). Accordingly, both in issuing

marriage licenses, and in not issuing licenses pursuant to Kentucky RFRA, in her official capacity,

Davis was at all times a state official enforcing and applying state law.5

       Plaintiffs likely will argue that Davis is a county official, and not a state official, under

Carroll v. Reed, 425 S.W.3d 921 (Ky. Ct. App. 2014). (Am. Compl., Doc. 27, at 2, ¶ 12.) The

Court should reject this argument. The issue in Carroll was the validity of a county ordinance

requiring the county clerk and county sheriff to remit certain funds to the control of the county

fiscal court. 425 S.W.3d at 922-23. The court rejected the county clerk’s absolute argument that

“the Clerk is not a local official subject to control by the Fiscal Court,” and held that county clerks

“are considered local officials subject to a measure of control by the fiscal court.” Id. at 924

(emphasis added). Thus, the Carroll court did not decide that county clerks are “local officials”

for all purposes, but only for purposes of limited financial controls exercised by the fiscal court.

Id. (“a degree of financial control”). Moreover, the Carroll court did not consider the nature of a

county clerk’s marriage licensing function, or any other function, in the context of a § 1983 claim.

Cf. Gottfried, 280 F.3d at 693 (holding county sheriff to be state official for § 1983 purposes, even

though “Ohio law classifies sheriffs as county officials”).

       Because Plaintiffs’ damages claims against Davis in her official capacity constitute

damages claims against a state official, the claims are barred by the Eleventh Amendment, and this

Court should dismiss Plaintiffs’ claims.




5
       Even if the Court concludes Davis, in her official capacity, applied the Kentucky RFRA
incorrectly, the Kentucky RFRA is still a state law and not a county policy.


                                                  13
Case: 0:15-cv-00046-DLB-EBA             Doc #: 29-1 Filed: 07/10/17          Page: 20 of 37 - Page
                                             ID#: 160



          C.     In Her Individual Capacity, Davis Has Qualified Immunity from
                 Plaintiffs’ Damages Claims Because Davis Did Not Violate Any Clearly
                 Established Law.

          Qualified immunity generally “shields government officials ‘from liability for civil

damages insofar as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known.’” Estate of Carter v. Detroit, 408 F.3d

305, 310–11 (6th Cir. 2005) (quoting Harlow v. Fitzgerald, 457 U.S. at 818). This immunity is

granted broadly and “provides ample protection to all but the plainly incompetent or those who

knowingly violate the law.” Malley v. Briggs, 475 U.S. 335, 341 (1986). Qualified immunity is

also intended to serve the public interest “by permitting officials to take action with independence

and without fear of consequences.” Crocket v. Cumberland Coll., 316 F.3d 571, 579 (6th Cir.

2003) (internal quotations omitted).

          In reviewing qualified immunity at this stage, this Court determines whether an official is

entitled to qualified immunity under a two-step inquiry: (1) whether a constitutional right has been

violated, and (2) if so, whether the right was clearly established and one that a reasonable official

should have known. See Campbell v. City of Springboro, 700 F.3d 779, 786 (6th Cir. 2012) (citing

Saucier v. Katz, 533 U.S. 194 (2001)). In connection with this second inquiry, Sixth Circuit Courts

consider whether the official’s alleged conduct was objectively unreasonable in light of a clearly

established constitutional right. See, e.g., Holzemer v. City of Memphis, 621 F.3d 512, 519 (6th

Cir. 2010); see also Anderson v. Creighton, 483 U.S. at 640. “Unless the plaintiff's allegations

state a claim of violation of clearly established law, a defendant pleading qualified immunity is

entitled to dismissal before commencement of discovery.” Mitchell, 472 U.S. at 526 (emphasis

added).

          The Supreme Court, in Pearson v. Callahan, 555 U.S. 223, examined the two-step inquiry

set forth in Saucier, and concluded,


                                                  14
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17            Page: 21 of 37 - Page
                                            ID#: 161



                while the sequence set forth there is often appropriate, it should no
                longer be regarded as mandatory. The judges of the district courts
                and the courts of appeals should be permitted to exercise their sound
                discretion in deciding which of the two prongs of the qualified
                immunity analysis should be addressed first in light of the
                circumstances in the particular case at hand.

555 U.S. at 236. This conclusion was appropriate, in part, because “[t]here are cases in which it is

plain that a constitutional right is not clearly established but far from obvious whether in fact there

is such a right.” Id. at 237. Thus, “[i]f either inquiry is answered in the negative, the defendant

official is entitled to [prevail].” See Gibbs v. Lomas, 755 F.3d 529, 537 (7th Cir. 2014) (holding

police officer entitled to qualified immunity where alleged constitutional right not clearly

established).

       In the case at bar, Plaintiffs have failed to allege facts sufficient to overcome the application

of the doctrine of qualified immunity, and the claims against Davis individually should be

dismissed. As discussed infra in Part II, and incorporated by reference here, Plaintiffs have failed

to state a viable federal constitutional claim: There is no constitutional right for any couple to

receive a marriage license from a particular official, in a particular place.

       But even if Plaintiffs had sufficiently alleged the violation of a federal constitutional right,

they have not demonstrated a “clearly established” constitutional right. Such a “right ‘must have

been clearly established in a . . . particularized . . . sense: The contours of the right must be

sufficiently clear that a reasonable official would understand that what he is doing violates that

right.’” Kennedy v. City of Villa Hills, 635 F.3d 210, 214 (6th Cir. 2011) (emphasis added) (quoting

Anderson, 483 U.S. at 640) (internal quotations omitted). The official’s “unlawfulness” must be

“apparent” in “the light of pre-existing law.” Anderson, 483 U.S. at 640.

       In deciding whether a constitutional right is clearly established, the Sixth Circuit “‘look[s]

first to decisions of the Supreme Court, then to decisions of this court and other courts within our



                                                  15
Case: 0:15-cv-00046-DLB-EBA           Doc #: 29-1 Filed: 07/10/17           Page: 22 of 37 - Page
                                           ID#: 162



circuit, and finally to decisions of other circuits.’” Walton v. City of Southfield, 995 F.2d 1331,

1336 (6th Cir. 1993) (quoting Daugherty v. Campbell, 935 F.2d 780, 784 (6th Cir. 1991)); see also

O’Malley v. City of Flint, 652 F.3d 662, 667-68 (6th Cir. 2011). “This standard requires the courts

to examine the asserted right at a relatively high level of specificity,” and “on a fact-specific,

case-by-case basis.” Cope v. Heltsley, 128 F.3d 452, 458–59 (6th Cir. 1997) (emphasis added)

(internal quotation marks and citations omitted). Where a case arises in an area “in which the result

depends very much on the facts of each case,” and no case “squarely governs the case here,” no

clearly established right is demonstrated. See Brosseau v. Haugen, 543 U.S. 194, 201 (2004).

        The relevant constitutional question in this matter is not whether the Commonwealth of

Kentucky is required to license and recognize SSM as a matter of clearly established law.

Immediately after Obergefell, Gov. Beshear publicly declared that Kentucky will issue SSM

licenses and recognize SSM licenses issued by other states. (Am. Compl., Doc. 27, at 2, ¶ 15; Doc.

27-4.) Instead, the particular inquiry governing this specific matter is whether Obergefell requires

Kentucky to compel each and every county clerk to authorize and approve SSM licenses without

any accommodation for their sincerely-held religious beliefs. This issue has not been

specifically litigated in Kentucky courts, let alone decided by the Sixth Circuit or the Supreme

Court (either in its recent Obergefell decision or any other case), and therefore the law cannot be

“clearly established.” Certainly then, this case is not “squarely” governed by any single case, or

set of cases.6

        To the extent Plaintiffs point to any “pre-existing law” that was clearly established, see



6
        As shown infra in Part II, Obergefell does not require states to issue marriage licenses
through any particular official or on any particular form. Even if, however, Plaintiffs desired to
challenge a state marriage license policy that provides an accommodation to some license issuers
under a state RFRA, such a claim would not lie against a state official, individually, for availing
herself of an accommodation expressly provided by state law.


                                                 16
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17            Page: 23 of 37 - Page
                                            ID#: 163



Anderson, 483 U.S. at 640, to overcome Davis’ qualified immunity, they will be limited

exclusively to the sudden redefinition of marriage on June 26, 2015 in the Obergefell decision. But

in Obergefell, the Court unanimously agreed that First Amendment protections remain

despite same-sex “marriage.” See Obergefell v. Hodges, 135 S. Ct. 2584 (2015). Specifically,

dissenting justices in Obergefell recognized that “[m]any good and decent people oppose same-

sex marriage as a tenet of faith, and their freedom to exercise religion” is specifically “spelled out”

in the First Amendment of the Constitution. Obergefell, 135 S. Ct. at 2625 (Roberts, C.J.,

dissenting). Continuing, these Justices noted that “[r]espect for sincere religious conviction has led

voters and legislators in every State that has adopted same-sex marriage democratically to include

accommodations for religious practice.” Id.; see also id. at 2638 (explaining the historical

significance of “religious liberty”) (Thomas, J., dissenting). The majority opinion also

recognized that religious freedoms continue unabated even as they redefined marriage:

               Finally, it must be emphasized that religions, and those who adhere
               to religious doctrines, may continue to advocate with utmost, sincere
               conviction that, by divine precepts, same-sex marriage should not
               be condoned. The First Amendment ensures that religious
               organizations and persons are given proper protection as they seek
               to teach the principles that are so fulfilling and so central to their
               lives and faiths, and to their own deep aspirations to continue the
               family structure they have long revered.

Obergefell, 135 S. Ct. at 2607 (Kennedy, J., majority) (emphasis added).

       Not only that, but the nature of the religious objection in the context of marriage is even

more firmly established in history because the “meaning of marriage” as a union between one man

and one woman “has persisted in every culture,” “has formed the basis of human society for

millennia,” and has singularly “prevailed in the United States throughout our history.” Obergefell,

135 S. Ct. at 2612-13 (Roberts, C.J., dissenting); see also id. at 2641 (“For millennia, marriage

was inextricably linked to the one thing that only an opposite-sex couple can do: procreate.”)


                                                  17
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17           Page: 24 of 37 - Page
                                            ID#: 164



(Alito, J., dissenting). In fact, the majority in Obergefell conceded that the institution of marriage

as exclusively a union between a man and a woman “has existed for millennia and across

civilizations” and this view “long has been held—and continues to be held—in good faith by

reasonable and sincere people here and throughout the world.” Obergefell, 135 S. Ct. at 2594

(Kennedy, J., majority) (emphasis added). Thus, although the traditional view of marriage was

discarded in Obergefell, that long-held view of marriage provides the historical underpinnings for

a religious exemption and accommodation from the redefinition of marriage.

       The Supreme Court, in Obergefell, specifically recognized the tensions that would occur

for religious believers and in the law regarding religious accommodations. In Pearson v. Callahan,

the Supreme Court also specifically contemplated how to analyze claims of qualified immunity in

the face of such tensions when it receded from its holding in Saucier: “A constitutional decision

resting on an uncertain interpretation of state law is also of doubtful precedential importance.”

555 U.S. at 238 (emphasis added). Plaintiffs’ alleged constitutional violation from a newly minted

right to marry for same-sex couples (which is more accurately stated as the right to have a license

issued by a particular county clerk, in a particular county) is in direct competition with Davis’

constitutional and statutory rights, specifically including the right to a reasonable accommodation

of her religious beliefs under Kentucky RFRA. When Plaintiffs filed their Complaint just two

weeks after the Obergefell decision, the Kentucky courts had not determined whether Kentucky

RFRA would afford a county clerk, who is an elected official, a reasonable accommodation of her

religious beliefs. The right to same-sex “marriage” was literally brand new.

       To be sure, this Court, in its preliminary injunction order in the Miller case, immediately

recognized the tension presented by the newfound right to same-sex marriage in Obergefell:

               At its core, this civil action presents a conflict between two
               individual liberties held sacrosanct in American jurisprudence.



                                                 18
Case: 0:15-cv-00046-DLB-EBA           Doc #: 29-1 Filed: 07/10/17           Page: 25 of 37 - Page
                                           ID#: 165



               One is the fundamental right to marry implicitly recognized in the
               Due Process Clause of the Fourteenth Amendment. The other is the
               right to free exercise of religion explicitly guaranteed by the First
               Amendment. Each party seeks to exercise one of these rights, but in
               doing so, they threaten to infringe upon the opposing party's rights.

Miller, 123 F. Supp. 3d at 930 (emphasis added). This acknowledgement by the Court was not

some casual observation, for it was made with the benefit of a factual record following two

evidentiary hearings on the Miller plaintiffs’ motion for preliminary injunction. Id. at 930.

       Thus, both the Obergefell Court and this Court acknowledged the tension between old and

new rights, and Kentucky’s highest officials took action to resolve it. Kentucky Senate President

Robert Stivers showed this Court that Obergefell made the law unclear, requiring action by the

Kentucky Governor or General Assembly to clarify the respective rights of county clerks and

marriage licensees. (Miller, E.D. Ky. No. 0:15-cv-44-DLB, Mot. Ky. Senate Pres. Stivers Leave

to File Br. as Amicus Curiae, Doc. 73, at 1-2.) Gov. Bevin answered the tension with his Executive

Order, which explicitly recognized the substantial burden placed upon county clerks’ religious

beliefs, explicitly declared that there was no compelling governmental interest to justify requiring

the name and authority of county clerks on marriage licenses, and explicitly declared that a

reasonable accommodation could easily and must be made. (See supra Relevant Background Part

D.) The Kentucky General Assembly further answered the tension by unanimously passing SB

216. (See supra Relevant Background Part E.) Given that Kentucky’s highest executive and

legislative branch officials took official action to not only identify the uncertainty and tension in

Kentucky marriage law following Obergefell, but also to explicitly vindicate Davis’ position

(which official action the district court invited as “better for everyone” (see supra Relevant

Background Part C)), it cannot be reasonably argued that the supposed right asserted by Plaintiffs

was clearly established (if established at all). As the Supreme Court noted in Pearson v. Callahan,




                                                 19
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17           Page: 26 of 37 - Page
                                            ID#: 166



“where there is a divergence of views on [the constitutional question], it is improper to subject [the

public officials] to money damages for their conduct.” 555 U.S. at 245.

       A similar situation occurred in the Seventh Circuit case Gibbs v. Lomas, 755 F.3d 529. In

Gibbs, the plaintiff challenged the constitutionality of the defendant Wisconsin police officer’s

arrest and search of the plaintiff’s car, and the qualified immunity analysis centered on a recently

amended law’s effect on the reasonableness of the officer’s actions. 755 F.3d at 532. The incidents

in question took place the year following enactment of the amended law. Id. at 532, 539. At that

time, the “Wisconsin courts [had] not yet answered important questions about [the amended

statute],” such as what specific kind of conduct would be prohibited or protected. Id. at 539. Thus,

the Seventh Circuit determined that it “would be imprudent to base our decision on speculation

about the appropriate scope of the Wisconsin statute.” Because the “interpretive problems [were]

best answered by the Supreme Court of Wisconsin,” the court held that “the alleged right at issue

was not clearly established at the time [the officer] acted.” Id. at 540 (internal quotation marks and

citation omitted).

       Like the situation in Gibbs, prior to the Kentucky General Assembly’s enactment of SB

216, the Kentucky courts had not decided how requests for religious accommodations would be

addressed either constitutionally or under Kentucky RFRA by those required to execute the state’s

marriage laws. The instant litigation (with related cases), coupled with Gov. Bevin’s and the

General Assembly’s swift actions to recognize the need for and provide an accommodation at the

state level, demonstrate not only that the alleged right in question (the right to obtain a marriage

license from a specific clerk in a specific county) was not clearly established (thus making Davis’

conduct reasonable), but also that making judicial decisions on the alleged constitutional question

without input from Kentucky courts is not prudent.




                                                 20
Case: 0:15-cv-00046-DLB-EBA           Doc #: 29-1 Filed: 07/10/17           Page: 27 of 37 - Page
                                           ID#: 167



       In light of the foregoing, Plaintiffs have not sufficiently alleged that Davis’ actions were

objectively unreasonable to survive dismissal of their claims on qualified immunity grounds.

Although Plaintiffs’ Amended Complaint includes perfunctory allegations of malice and bad faith

(Doc. 27 at 6, ¶¶ 44-48), “bare allegations of malice should not suffice to subject government

officials either to the costs of trial or to the burdens of broad-reaching discovery.” Harlow, 457

U.S. at 817-18. In this case, Plaintiffs’ Amended Complaint is bereft of anything beyond a bare

allegation of malice, bad faith, or the like. Conversely, the Amended Complaint explicitly alleges

the critical fact that Davis’ actions were based upon her “deeply held Christian beliefs.” (Doc. 27

at 3, ¶ 21.) The very basis for the Supreme Court’s adherence to a broad grant of qualified

immunity rests upon the doctrine as “the best attainable accommodation of competing values,”

Harlow, 457 U.S. at 814 (citing Butz v. Economou, 438 U.S. 478, 507-08 (1978)). This is so

because, in light of “claims that frequently run against the innocent as well as the guilty—at a cost

not only to the defendant officials, but to society as a whole.” Harlow, 457 U.S. at 814. “‘In times

of political passion, dishonest or vindictive motives are readily attributed . . . and as readily

believed.’” Harlow, 457 U.S. at 815, n.23 (quoting Tenney v. Brandhove, 341 U.S. 367, 378

(1951)).

       In sum, in light of the suddenly changed legal landscape engendered by the Supreme

Court’s ruling in Obergefell, the enumerated United States and Kentucky Constitutional and

statutory protections for conscience, religious freedom, and speech, the long-standing historical

definition of marriage in Kentucky that comports with Davis’ sincerely-held religious beliefs, the

undisputed conviction with which Davis holds her religious beliefs, and the obvious constitutional

conflict presented by the case at bar, the doctrine of qualified immunity protects Davis from any




                                                 21
Case: 0:15-cv-00046-DLB-EBA             Doc #: 29-1 Filed: 07/10/17           Page: 28 of 37 - Page
                                             ID#: 168



civil damages in her individual capacity. Therefore, this Court should dismiss Plaintiffs’ claims

against Davis individually.

II.     THE AMENDED COMPLAINT SHOULD BE DISMISSED                                          BECAUSE
        PLAINTIFFS  HAVE   FAILED TO STATE VIABLE                                          FEDERAL
        CONSTITUTIONAL CLAIMS.

        For Plaintiffs’ claims under 42 U.S.C. § 1983 to succeed against Davis, they must

“establish a violation of some right guaranteed by the United States Constitution or federal

statute by one acting under the color of state law.” Brehm v. Wesseler, No. 09-60, 2011 WL

1704347, at *4 (E.D. Ky. May 4, 2011) (Bunning, J.) (emphasis added) (citing Radvansky v. City

of Olmsted Falls, 395 F.3d 291, 302 (6th Cir. 2005)). “Section 1983 does not confer substantive

rights but merely provides a means to vindicate rights conferred by the Constitution or laws of the

United States.” Aldini v. Johnson, 609 F.3d 858, 864 (6th Cir. 2010). Ermold and Moore failed to

identify any federal constitutional right that has been infringed by Davis. Their reference to a

“constitutional right to marry” is not sufficient. (Am. Compl., Doc. 27, at 5, ¶ 39.)

        Critically, the Complaint does not allege that Kentucky prevented Plaintiffs from marrying

whom they want to marry or barred them from obtaining a marriage license. To the contrary, the

Complaint concedes that marriage licenses, including SSM licenses, were readily available. (Am.

Compl., Doc. 27, at 2, ¶ 15.) Under Kentucky law, Ermold and Moore could obtain a marriage

license from “any county clerk.” Ky. Rev. Stat. § 402.080 (emphasis added). Thus, although

Plaintiffs allegedly reside in Rowan County (Am. Compl., Doc. 27, at 1-2, ¶¶ 3-4, 7), Kentucky

law does not mandate that they must obtain a marriage license from Rowan county.

        Thus, Plaintiffs do not allege a violation of a fundamental constitutional right to marry.

Instead, Plaintiffs allege a violation of a purported federal constitutional right to receive a marriage

license signed by a particular individual (“from the Rowan County Clerk”) in a particular county

(“a valid marriage license in Rowan County, Kentucky”). (Am. Compl., Doc. 27, at 3, 6, ¶¶ 19,


                                                  22
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17            Page: 29 of 37 - Page
                                            ID#: 169



43.) There is no such right, let alone a clearly established one. In demanding a fundamental right

to have a specific individual approve of and participate in their marriage, Plaintiffs overlook clear

precedent that not every act, policy, rule, or regulation “which relates in any way to the incidents

of or prerequisites for marriage must be subjected to rigorous scrutiny.” Zablocki v. Redhail, 434

U.S. 374, 388 (1978). Heightened scrutiny only applies to restrictions on the right to marry that

are “direct and substantial.” Contrary to Plaintiffs’ suggestion, “[m]erely placing a non-oppressive

burden on the decision to marry . . . is not sufficient to trigger heightened constitutional scrutiny.”

Montgomery v. Carr, 101 F.3d 1117, 1125 (6th Cir. 1996). Instead, a “direct and substantial”

burden requires an “absolute barrier” in which individuals are “absolutely or largely prevented

from marrying” who they want to marry or “absolutely or largely prevented from marrying a large

portion of the otherwise eligible population of spouses.” Vaughn v. Lawrenceburg Power Sys., 269

F.3d 703, 710 (6th Cir. 2001). The lack of a marriage license “from the Rowan County Clerk”

(Am. Compl., Doc. 27, at 3, at ¶ 19) “does not change the essential fact” that Plaintiffs are not

barred “from getting married, nor did it prevent them from marrying a large portion of population

even in [Rowan] County.” Vaughn, 269 F.3d at 712. No allegation has been made in this case that

any absolute barrier existed preventing either Plaintiff from marrying whom he wanted to marry

in Kentucky, and from having that marriage recognized by the Commonwealth.

       The right to marry cases cited by Plaintiffs in their Amended Complaint do not compel a

different conclusion. Critically, unlike here, the cases of Loving v. Virginia, 388 U.S. 1 (1968),

and Obergefell, 135 S. Ct. 2584, involve state-wide bans affecting marriage. See, e.g., Loving, 388

U.S. at 11-12 (striking down Virginia ban on inter-racial marriages); Obergefell, 135 S. Ct. at




                                                  23
Case: 0:15-cv-00046-DLB-EBA           Doc #: 29-1 Filed: 07/10/17          Page: 30 of 37 - Page
                                           ID#: 170



2593, 2599-2605 (redefining marriage to include same-sex couples, and striking down Kentucky,

Tennessee, Michigan and Ohio marriage laws to the contrary).7

       Moreover, despite Plaintiffs’ constant refrain in their Amended Complaint, this case is

neither the same case as Obergefell nor controlled by it. Before Obergefell, Plaintiffs, as two men,

were “absolutely prevented” from obtaining a Kentucky marriage license if they wanted to marry

each other. No same-sex couple was able to obtain a Kentucky marriage license in any one of

Kentucky’s 120 counties. And even if Plaintiffs had gotten “married” in a different state, their

“marriage” would not have been recognized in Kentucky. But now individuals desiring SSM

licenses can obtain them because Kentucky is recognizing same-sex “marriage” and, in fact, nearly

all county clerks are issuing SSM licenses. (Am. Compl., Doc. 27, at 2, ¶ 15; Doc. 27-1.)

Nevertheless, Plaintiffs are claiming a violation of the fundamental right to marry because they (i)

could not obtain a marriage license in their home county (ii) approved by a particular individual.

Neither is a right mandated by Obergefell, and neither implicates a direct and substantial burden

on a fundamental right to marry.

       Furthermore, state marriage laws differ across the country, and Kentucky marriage law is

far less restrictive than other states, even if Kentucky exempted Davis from administering it on the

basis of her sincerely held religious beliefs. For instance, some states require prospective couples

to obtain a license in the county where the ceremony will occur, see, e.g., Md. Code Ann., Fam.

Law § 2-401(a), whereas others, like Kentucky, permit residents to obtain their license in one



7
       Other right to marry cases from the Supreme Court similarly involve state-wide bans
barring individuals from marrying whom they want to marry. See Turner v. Safley, 482 U.S. 78,
81-82, 99 (1987) (striking down Missouri prison regulation that represented a near “almost
complete ban” on inmate marriage); Zablocki, 434 U.S. at 379, 390-91 (striking down Wisconsin
law that required any resident with child support obligations to satisfy such obligations before
marrying and to obtain a court order permitting the marriage).


                                                24
Case: 0:15-cv-00046-DLB-EBA            Doc #: 29-1 Filed: 07/10/17           Page: 31 of 37 - Page
                                            ID#: 171



county and hold their ceremony in another county, see, e.g., Ky. Rev. Stat. §§ 402.080, 402.100;

Minn. Stat. § 517.07. Some states require a prospective couple to obtain their license in their home

county, see, e.g., Mich. Comp. Laws § 551.101; Ohio Rev. Code Ann. § 3101.05(a), whereas

others, like Kentucky, allow residents to obtain a license in any county, see Ky. Rev. Stat.

§ 402.080; Tenn. Code Ann. § 36-3-103. Some states require a prospective couple to wait to

receive their license upon application, see, e.g., Mich. Comp. Laws § 551.103a (3 days); Minn.

Stat. § 517.08(a) (5 days), whereas others, like Kentucky, Ohio, and Tennessee, have no waiting

period. These various state regulations on the process and personnel for issuing marriage licenses

differ widely in location and timing of access to licenses, and Obergefell has nothing to say about

the disparity from state to state, provided the regulations treat same-sex couples and different-sex

couples on the same terms. To be sure, there is no plausible argument that Obergefell requires

every state to issue licenses in the home county of every applicant, regardless of the availability of

licenses elsewhere.

       To find that Plaintiffs state a viable federal constitutional claim here—when they could

marry whom they wanted, obtain a marriage license in practically any Kentucky county, and have

their “marriage” recognized by the Commonwealth—would turn every commonplace marriage-

related law in all fifty states into a possible federal constitutional claim. Such a view would upend

the axiom that “the definition and regulation of marriage” have “long been regarded as a virtually

exclusive province of the States.” United States v. Windsor, 133 S. Ct. 2675, 2689-91 (2013).

Moreover, a mere inconvenience at a governmental office does not constitute an irreparable harm.

Otherwise, everyone who has ever visited the local DMV has suffered a potential federal

constitutional injury to be litigated in the federal courts pursuant to § 1983. In the case at bar,

Plaintiffs were neither absolutely nor largely prevented from marrying whom they wanted under




                                                 25
Case: 0:15-cv-00046-DLB-EBA         Doc #: 29-1 Filed: 07/10/17           Page: 32 of 37 - Page
                                         ID#: 172



Kentucky law. Therefore, no viable federal constitutional violation has been alleged in their

Complaint under § 1983, and Plaintiffs’ Amended Complaint must be dismissed.

                                       CONCLUSION

       For all the foregoing reasons, this Court should dismiss Plaintiffs’ Amended Complaint.



                                                Respectfully submitted,

 A.C. Donahue                                   /s/ Roger K. Gannam
 Donahue Law Group, P.S.C.                      Horatio G. Mihet
 P.O. Box 659                                   Roger K. Gannam
 Somerset, Kentucky 42502                       Liberty Counsel
 Tel: (606) 677-2741                            P.O. Box 540774
 Fax: (606) 678-2977                            Orlando, Florida 32854
 ACDonahue@DonahueLawGroup.com                  Tel: (407) 875-1776
                                                Fax: (407) 875-0770
                                                hmihet@LC.org
                                                rgannam@LC.org

                                                Attorneys for Defendant Kim Davis




                                              26
Case: 0:15-cv-00046-DLB-EBA              Doc #: 29-1 Filed: 07/10/17        Page: 33 of 37 - Page
                                              ID#: 173



                                 CERTIFICATE OF SERVICE
       I hereby certify that a true and correct copy of the foregoing was filed via the Court’s ECF

filing system and therefore service will be effectuated by the Court’s electronic notification system

upon all counsel or parties of record:

 Michael J. Gartland                               Joseph D. Buckles
 DelCotto Law Group PLLC                           Thomas P. Szczygielski
 200 North Upper Street                            149 North Limestone
 Lexington, KY 40507                               Lexington, KY 40507
 mgartland@dlgfirm.com                             joe@joebuckles.com
                                                   tom@tpslawoffice.com


 DATED this July 10, 2017                          /s/ Roger K. Gannam
                                                   Roger K. Gannam
                                                   Attorney for Defendant Kim Davis
Case: 0:15-cv-00046-DLB-EBA   Doc #: 29-1 Filed: 07/10/17   Page: 34 of 37 - Page
                                   ID#: 174
Case: 0:15-cv-00046-DLB-EBA   Doc #: 29-1 Filed: 07/10/17   Page: 35 of 37 - Page
                                   ID#: 175
Case: 0:15-cv-00046-DLB-EBA   Doc #: 29-1 Filed: 07/10/17   Page: 36 of 37 - Page
                                   ID#: 176
Case: 0:15-cv-00046-DLB-EBA   Doc #: 29-1 Filed: 07/10/17   Page: 37 of 37 - Page
                                   ID#: 177
